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                                  EXHIBIT 8

                             Defendants 000180
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                             Defendants 000181
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                             Defendants 000182
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                             Defendants 000183
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                             Defendants 000184
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                             Defendants 000185
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                             Defendants 000186
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                             Defendants 000187
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                             Defendants 000188
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                             Defendants 000189
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                             Defendants 000190
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                             Defendants 000191
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                             Defendants 000192
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                             Defendants 000193
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                             Defendants 000194
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                             Defendants 000195
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                             Defendants 000196
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                             Defendants 000197
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                             Defendants 000198
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                             Defendants 000199
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                             Defendants 000200
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                             Defendants 000201
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                             Defendants 000202
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                             Defendants 000203
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                             Defendants 000204
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                             Defendants 000205
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                             Defendants 000206
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                             Defendants 000207
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                             Defendants 000208
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                             Defendants 000209
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                             Defendants 000210
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                             Defendants 000211
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                             Defendants 000212
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                             Defendants 000213
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                             Defendants 000214
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                             Defendants 000215
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                             Defendants 000216
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                             Defendants 000217
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                             Defendants 000218
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                             Defendants 000219
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                             Defendants 000220
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                             Defendants 000221
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                             Defendants 000222
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                             Defendants 000223
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                             Defendants 000224
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                             Defendants 000225
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                             Defendants 000226
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                             Defendants 000227
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                             Defendants 000228
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                             Defendants 000229
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                             Defendants 000230
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                             Defendants 000231
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                             Defendants 000232
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                             Defendants 000233
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                             Defendants 000234
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                             Defendants 000235
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                             Defendants 000236
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                             Defendants 000237
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                             Defendants 000238
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                             Defendants 000239
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                             Defendants 000240
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                             Defendants 000241
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                             Defendants 000242
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                             Defendants 000243
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                             Defendants 000244
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                             Defendants 000245
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                             Defendants 000246
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                             Defendants 000247
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                             Defendants 000248
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                             Defendants 000249
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                             Defendants 000250
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                             Defendants 000251
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                             Defendants 000252
